Case 1:19-cv-02240-CFC-SRF Document 268 Filed 11/19/21 Page 1 of 2 PageID #: 11813




                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

   VOLTERRA SEMICONDUCTOR                   )
   LLC,                                     )
                                            )
                 Plaintiff,                 )
                                            )
     v.                                     ) C.A. No. 19-2240-CFC-SRF
                                            )
   MONOLITHIC POWER SYSTEMS,                )
   INC.,                                    )
                                            )
                 Defendant.                 )


          DEFENDANT MONOLITHIC POWER SYSTEMS, INC’S
      MOTION FOR SUMMARY JUDGMENT (NO. 1) OF NO INDIRECT
    INFRINGEMENT BASED ON VOLTERRA’S COVENANT NOT TO SUE

          Pursuant to Federal Rule of Civil Procedure 56, defendant Monolithic Power

  Systems, Inc. (“MPS”) respectfully moves for summary judgment of no indirect

  infringement premised on alleged direct infringement by NVIDIA and its customers

  due to Volterra’s covenant not to sue. The grounds for this motion are set forth in

  MPS’s opening brief and concise statement of material facts, filed herewith.

          WHEREFORE, MPS respectfully requests that the Court grant this motion

  and enter the attached proposed order.
Case 1:19-cv-02240-CFC-SRF Document 268 Filed 11/19/21 Page 2 of 2 PageID #: 11814




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